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                             United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 BOBBY NEAL STOKEY,                               §
                                                  §
                Plaintiff,                        §     CIVIL ACTION NO. 4:23-CV-01101-
 v.                                               §               ALM-AGD
                                                  §
 PHH MORTGAGE CORPORATION, ET                     §
 AL.,                                             §
                                                  §
                Defendants.

               MEMORANDUM ADOPTING THE REPORT AND
          RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the Report and Recommendation (“Report”) of the United

 States Magistrate Judge in this action, this matter having been heretofore referred to the Magistrate

 Judge pursuant to 28 U.S.C. § 636. On March 4, 2025, the Magistrate Judge entered a Report (Dkt.

 #52) recommending that Defendants' Motion to Strike Plaintiff’s Expert Witness Designation

 (Dkt. # 32) be granted, that Plaintiff's designation of Reza Badiee and Penny Hafford as experts be

 stricken, and that Plaintiff be permitted leave to refile his expert disclosures. On March 18, 2025,

 Plaintiff filed an objection and attached an expert report by Ms. Hafford (Dkt. #54).

        Accordingly, having received the Report of the Magistrate Judge, Plaintiff’s objection (Dkt.

 #54), and having conducted a de novo review, the Court is of the opinion that the findings and

 conclusions of the Magistrate Judge are correct and adopts the Magistrate Judge’s report as the

 findings and conclusions of the Court.

        It is therefore ORDERED that Defendants' Motion to Strike Plaintiff’s Expert Witness

 Designation (Dkt. # 32) is GRANTED. It is further ORDERED that Reza Badiee and Penny

 Hafford are STRICKEN WITHOUT PREJUDICE as experts. It is further ORDERED that
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  Plaintiff may, within 20 days of this Memorandum, refile the expert disclosures of Reza Badiee

  and/or Penny Hafford in compliance with the Federal Rules of Civil Procedure. If Plaintiff refiles

  the expert disclosures of Reza Badiee and/or Penny Hafford, Defendants may file a Motion to

  Strike within 20 days of the filing.

          In reaching this conclusion, the Court considered Defendants’ Unopposed Motion to

  Extend Time to Respond to Pending Matters (Dkt. #55). Defendants note that since Plaintiff’s

  passing on November 11, 2024, no plaintiff has been substituted. Therefore, Defendants seek an

  extension of time to file objections to the Report, as well as an extension of time to respond to the

  pending Motion for Partial Summary Judgment (Dkt. #51), all extensions hinging on a party being

  substituted as plaintiff in this case.

          Having considered Defendants’ Motion, (Dkt. #55), it is ORDERED that the Motion is

  DENIED as to the portion seeking an extension of time to object to the Report. It is further

  ORDERED that Defendants Motion is GRANTED as to the portion seeking an extension of time

  to respond to the pending Motion for Partial Summary Judgment.

          It is further ORDERED that Plaintiff shall file a Notice of Substitution of Plaintiff within

  10 days of this Memorandum. It is finally ORDERED that if Plaintiff files a timely Notice of

. Substitution, Defendants shall file a response to the Motion for Partial Summary Judgment within
  21 days of the filing of the Notice. If Plaintiff does not file a Notice, Defendants may file a Motion

  to Dismiss.

          IT IS SO ORDERED.
          SIGNED this 27th day of March, 2025.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES DISTRICT JUDGE
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